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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF SOUTH DAKOTA
                            SOUTHERN DIVISION


 UNITED STATES OF AMERICA,                            4:21-CR-40150-KES-01

                    Plaintiff,
                                                   ORDER DENYING MOTION
       vs.                                           TO REDUCE SENTENCE
                                                     AND FOR APPOINTMENT
 ISAIAS SANTOS ESCAMILLA,                                OF COUNSEL

                    Defendant.


      Defendant, Isaias Santos Escamilla, filed a motion, under 18 U.S.C.

§ 3582(c)(2), requesting a reduction to his sentence pursuant to new retroactive

Sentencing Guidelines provisions and requesting appointment of counsel.

Docket 70. Plaintiff, the United States of America, opposes Santos Escamilla’s

motion. Docket 72. For the following reasons, Santos Escamilla’s motion is

denied.

                                  DISCUSSION

      The process for considering a Section 3582(c) motion is well established.

As the Supreme Court has made clear, Section 3582(c) “does not authorize a

. . . resentencing proceeding.” Dillon v. United States, 560 U.S. 817, 825 (2010).

Rather, it provides only for the possibility of “a limited adjustment to an

otherwise final sentence” following a “two-step approach.” Id. at 826, 827.

      “At step one, § 3582(c)(2) requires the court to follow the Commission’s

instructions . . . to determine the prisoner’s eligibility for a sentence

modification and the extent of the reduction authorized.” Id. at 827. As to

whether the defendant is eligible for any reduction, “§ 1B1.10(b)(1) requires the
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court to begin by ‘determin[ing] the amended guideline range that would have

been applicable to the defendant’ had the relevant amendment been in effect at

the time of the initial sentencing.” Id. (quoting U.S.S.G. § 1B1.10(b)(1)). If the

amendment would not have altered the defendant’s sentencing range even if it

had been applicable at the time of the defendant’s sentencing, then the

defendant is not eligible for a sentencing reduction. See U.S.S.G.

§ 1B1.10(a)(2)(B) (“A reduction in the defendant’s term of imprisonment is not

consistent with this policy statement and therefore is not authorized under 18

U.S.C. § 3582(c)(2) if . . . [the retroactive amendment] does not have the effect

of lowering the defendant’s applicable guideline range.”).

      Santos Escamilla’s Guideline range, based on a total offense level of 27

and a Criminal History Category of I, was 120 months in custody, and he faced

a mandatory minimum sentence of 10 years in custody on the drug conspiracy

charge. Docket 53 at 10; Docket 59-1 at 1. His total offense level included a 2-

point enhancement for possessing a firearm. Docket 53 at 6. On July 5, 2022,

the court sentenced Santos Escamilla to 120 months in custody for conspiracy

to distribute a controlled substance. Docket 59 at 1-2.

      On April 3, 2024, Santos Escamilla filed a motion requesting a reduction

to his sentence pursuant to new retroactive Sentencing Guidelines. Docket 70.

In his motion, Santos Escamilla seeks a modification of his sentence under the

retroactive amendment applicable to zero-point offenders. Id. at 1-2. Thus, the

court will analyze his motion under that provision of the recent amendments.

      In Subpart 1 of Part B to Amendment 821 to the Sentencing Guidelines,

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the Sentencing Commission added an adjustment for certain zero-point

offenders, which now appears in Section 4C1.1. The provision states:

      If the defendant meets all of the following criteria: (1) the defendant
      did not receive any criminal history points from Chapter Four, Part
      A; (2) the defendant did not receive an adjustment under § 3A1.4
      (Terrorism); (3) the defendant did not use violence or credible
      threats of violence in connection with the offense; (4) the offense
      did not result in death or serious bodily injury; (5) the instant
      offense of conviction is not a sex offense; (6) the defendant did not
      personally cause substantial financial hardship; (7) the defendant
      did not possess, receive, purchase, transport, transfer, sell, or
      otherwise dispose of a firearm or other dangerous weapon (or
      induce another participant to do so) in connection with the offense;
      (8) the instant offense of conviction is not covered by § 2H1.1
      (Offenses Involving Individual Rights); (9) the defendant did not
      receive an adjustment under § 3A1.1 (Hate Crime Motivation or
      Vulnerable Victim) or § 3A1.5 (Serious Human Rights Offense); and
      (10) the defendant did not receive an adjustment under § 3B1.1
      (Aggravating Role) and was not engaged in a continuing criminal
      enterprise, as defined in 21 U.S.C. § 848; decrease the offense level
      determined under Chapters Two and Three by 2 levels.

U.S.S.G. § 4C1.1.

      Santos Escamilla fails to meet the criteria for zero-point offenders

because his offense of conviction involved the possession of a firearm during

his drug conspiracy. Docket 53 at 5-6. Thus, the amendment to U.S.S.G.

§ 4C1.1 does not apply to his case.

      Santos Escamilla also moved for appointment of counsel. Docket 70.

Under the court’s Amended Standing Order 19-01, the Federal Public

Defender’s Office was appointed to represent Santos Escamilla. After a review

of his motion, the Federal Public Defender’s Office filed a notice of intent not to

file a supplement to Santos Escamilla’s motion. Thus, Santos Escamilla’s

request for appointment of counsel is denied as moot.

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                              CONCLUSION

      It is ORDERED that Santos Escamilla’s motion (Docket 70) is DENIED.

      Dated April 16, 2024.

                                   BY THE COURT:



                                   /s/ Karen E. Schreier
                                   KAREN E. SCHREIER
                                   UNITED STATES DISTRICT JUDGE




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